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                                          1   CHRISTOPHER R. ORAM, ESQ
                                              Nevada Bar No. 004349
                                          2   520 South Fourth Street, Second Floor
                                              Las Vegas, Nevada 89101
                                          3   (702) 384-5563
                                              E-Mail: contact@christopheroramlaw.com
                                          4
                                              Attorney for Defendant
                                          5   EVERLY JAMES
                                                                           UNITED STATES DISTRICT COURT
                                          6                                     DISTRICT OF NEVADA
                                          7                                               *****
                                          8    UNITED STATES OF AMERICA,                      CASE NO. 2:17-cr-00180-JAD-PAL

                                          9                   Plaintiff,

                                         10    vs.                                            STIPULATION TO CONTINUE THE
                                                                                              REPLY TO THE GOVERNMENT’S
                                         11    EVERLY JAMES                                   RESPONSE (ECF No. 278) TO
                                                                                              DEFENDANT’S MOTION TO DISMISS
520 SOUTH 4TH STREET | SECOND FLOOR




                                         12                                                   (ECF No. 267)(Second Request)
 TEL. 702.384-5563 | FAX. 702.974-0623




                                                               Defendants.
    CHRISTOPHER R. ORAM, LTD.

       LAS VEGAS, NEVADA 89101




                                         13
                                         14          IT IS HEREBY STIPULATED AND AGREED, by and between the United States of

                                         15   America, by and through Frank Coumou, Assistant United States Attorney, and Everly James,

                                         16   by and through his attorney, Christopher R. Oram, that the Reply to the Government’s Response
                                              to Defendant’s Motion to Dismiss, currently due on Wednesday, March 14, 2018, be continued
                                         17
                                              for seven (7) days, until March 21, 2018, for the following reasons:
                                         18
                                         19          1. Counsel for the Defendant requires additional time to draft a Reply to the

                                         20   Government’s Response and to discuss the Government’s Response and the Reply with the

                                         21   Defendant. Counsel also requires additional time to draft the Reply as he is simultaneously

                                         22   drafting an Opening Brief in a capital murder case before the Nevada Supreme Court which is

                                         23   due on March 19, 2018.

                                         24          2. The defendant is in custody and does not object to this stipulation.

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                                                     3. Denial of this request could result in a miscarriage of justice because it prevents
                                          2
                                              counsel for the Defendant from having meaningful discussions with the Defendant concerning
                                          3
                                              the Reply.
                                          4
                                                    4. This is the second request to continue the Reply to the Government’s Response to
                                          5   Defendant’s Motion to Dismiss.
                                          6
                                          7          /s/ Frank Coumou 03/13/2018                    /s/ Christopher R. Oram      03/13/2018
                                                     FRANK COUMOU DATE                              CHRISTOPHER R. ORAM             DATE
                                          8
                                                     Assistant United States Attorney               Counsel for Defendant E. James
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                                         10
                                         11
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                                                     Based upon the pending Stipulation of the parties, and good cause appearing therefore,
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                                              the Court finds that:
                                          3
                                                     1. Counsel for the Defendant requires additional time to draft a Reply to the
                                          4
                                              Government’s Response and to discuss the Government’s Response and the Reply with the
                                          5
                                              Defendant. Counsel also requires additional time to draft the Reply as he is simultaneously
                                          6
                                              drafting an Opening Brief in a capital murder case before the Nevada Supreme Court which is
                                          7
                                              due on March 19, 2018.
                                          8
                                                     2. The defendant is in custody and does not object to this stipulation.
                                          9
                                                     3. Denial of this request could result in a miscarriage of justice because it prevents
                                         10
                                              counsel for the Defendant from having meaningful discussions with the Defendant concerning
                                         11
                                              the Reply.
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                                                    4. This is the second request to continue the Reply to the Government’s Response to
       LAS VEGAS, NEVADA 89101




                                         13
                                              Defendant’s Motion to Dismiss.
                                         14
                                         15          For all of the above-stated reasons, the end of justice would best be served by a seven (7)
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                                              day continuance of the deadline for the Defendant to file his Reply to the Government’s
                                         17
                                              Response to Defendant’s Motion to Dismiss.
                                         18
                                         19
                                         20                                                   ORDER

                                         21            IT IS ORDERED that the Defendant’s deadline to respond to the Government’s
                                         22   Response to Defendant’s Motion to Dismiss, currently scheduled for March 14, 2018, be

                                         23   vacated and continued to March 21, 2018.

                                         24          DATED this 21st day of March, 2018.
                                         25
                                         26                                                         __________________________________
                                         27                                                         THE HONORABLE PEGGY A. LEEN
                                         28                                                         United States Magistrate Judge


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